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                      UNITED STATES BANKRUTPCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
                                                    Chapter 13
Kenneth M. Diamond
Nancy Diamond
                                                    Bankruptcy No. 19—10891AMC
               Debtor.




                                        ORDER

         AND NOW, this 13th day of February, 2020, it is hereby ORDERED that the February

11, 2020 Order Dismissing Debtor’s case is hereby   VACATED and Debtor’s    case is hereby

reinstated.




                                           Asheb‘liM.” Chan
                                           United States Bankruptcy Judge
